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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES,
                                                              No. 2:17-cr-191 (WJM)
        V.
                                                                     OPINION
 JERMMNE MASON.


WILLIAM J. MARTINI, U.S.D.J.:

       This matter comes before the Court on a motion by Defendant Jennaine Mason
(“Defendant”) for compassionate release and a reduction in sentence pursuant to 18 U.S.C.
§ 3582(c)(1)(A)(i) in light of the Covid-19 pandemic. ECF No. 21. Defendant initially filed
his motion pro se. ECF No. 19. Appointed counsel then filed a more fonnal motion on his
behalf ECF Nos. 21, 22. The Court did not Order the Government to respond. For the
reasons stated below, Defendant’s motion is DENIED.

       I.     BACKGROUND

       On May 23, 2017, Defendant pleaded guilty to an Information charging him with five
counts of bank robbery, in violation of 18 U.S.C. § 2113. ECF Nos. 12, 14. On November
28, 2017, this Court sentenced Defendant to 65 months of irnprisomrient on each of Counts 1
through 5, with all such tern-is to run concurrent, followed by three years of supervised
released. ECF Nos. 17, 18. Defendant is currently incarcerated at FCI Schuylldll. ECF No.
19. His projected release date, as calculated by the Bureau of Prisons (“BOP”), is July 10,
2022. Def. Br. at 2, ECF No. 22.

       II.    DISCUSSION

       Defendant argues that he suffers from asthma and requires an inhaler, and that this
medical condition constitutes an “extraordinary and compelling reason” justifying
compassionate release and a reduction of his sentence. The CDC has identified moderate to
severe asthma as a possible risk factor for severe illness from Covid-19.’

       Under 18 U.S.C. § 3582(c)(1)(A), a court may exercise its discretion and grant a
defendant’s motion to reduce his term of imprisomilent if it finds that “extraordinary and
compelling reasons warrant such a reduction” and “such a reduction is consistent with
applicable policy statements issued by the Sentencing Commission.” In light of the Covid


 The CDC’s guidance concerning adults with certain medical conditions is available at https://
www. cdc. gov/coronavirus/20 1 9-ncov/need-extra-precautions/people-with-medical-conditions. html.
                                                1
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19 pandemic, “[t]he ‘extraordinary and compelling reasons’ inquiry logically has two
components: (a) identification of a medical condition that renders the defendant particularly
vulnerable to serious consequences if infected with COVID-19; and (b) the likelihood of
COVID-19 infection, with particular reference to conditions in the institution in which the
defendant is incarcerated.” United States i’. Moore, No. 19-10 1 (KM), 2020 WL 4282747, at
*3 (D.N.J. July 27, 2020); United States v. Henderson, No. CR 15-0329 (ES), 2020 WL
5055081, at *3 (D.N.J. Aug. 26, 2020) (quoting Moore).

       As a threshold matter, the Court may hear Defendant’s request for compassionate
release because he has exhausted the administrative remedies available within the BOP. 18
U.S.C. § 3582(c); see Def. Br. at 2, ECF No. 22; Ex. A, ECF No. 21-1.

        As to the merits of the motion, the Court is sympathetic to Defendant’s health concerns,
but finds he has failed to demonstrate “extraordinary and compelling reasons” justifying his
release. First, even if an asthma diagnosis could rise to the level of an “extraordinary and
compelling reason” under the statute, Defendant presents no evidence that he is diagnosed
with or suffers from such a condition. To the contrary, a letter from the warden of Defendant’s
facility denying Defendant’s request for an inhaler explains that based on a review of his
medical file, Defendant was evaluated by his primary care provider on May 7, 2020, and
“presented no clinical findings to support an asthma diagnosis, nor be prescribed an inhaler.”
Ex. B, ECF No. 21-2 at 3. Second, FCI Schuylkill has zero confirmed active cases of Covid
19 among inmates, but three confirmed active cases among staff at the time of this writing,
suggesting the facility has been able to successfully prevent the spread of the virus among the
inmate population.2

      For these reasons, Defendant’s concerns about his unconfirmed asthma diagnosis
simply cannot rise to the level of “extraordinary and compelling reasons” warranting his
immediate release and a reduction of his sentence. The Court will deny the motion.

       III.   CONCLUSION

      Defendant’s motion for compassionate release and a reduction in sentence pursuant to
1$ U.S.C. § 3582(c)(1)(A)(i) is DENIED.

        An appropriate order follows.



                                                       LIAM         ARTINI, U.S.D.J.

Date: November 5, 2020

2
 The number of confirmed Covid- 19 cases among inmates and staff at each BOP-managed facility is
updated daily on the BOP website, https ://www.bop.gov/coronavirns/.
